         Case 4:18-cv-02344 Document 30 Filed in TXSD on 10/11/18 Page 1 of 3
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                October 11, 2018
                              IN THE UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

SIEMENS PRODUCT LIFECYCLE                            §
MANAGEMENT SOFTWARE INC.,                            §
             Plaintiff,                              §
                                                     §
v.                                                   §         CASE NO. 4:18-cv-2344
                                                     §
DOES 1-107,                                          §
                                     Defendants.     §


                                                   ORDER

            On July 9, 2018, Plaintiff Siemens Product Lifecycle Management Software

Inc. (“Siemens”) filed Plaintiff’s Original Complaint for Copyright Infringement

[Doc. # 1] (“Complaint”) with this Court. Plaintiff Siemens’s Complaint alleges

that unknown Defendants Does 1-107 infringed Siemens’s copyrights in certain

software. Complaint [Doc. # 1], ¶¶ 2, 6-20.

            In an Order dated July 10, 2018 [Doc. # 5], the Court set an Initial Pretrial

and Scheduling Conference for this case for October 15, 2018, at 1:00 p.m.

            In an Order dated September 6, 2018 [Doc. # 8], the Court granted Plaintiff

Siemens’s Motion for Discovery [Doc. # 4]. The Court ordered that Plaintiff

Siemens may serve subpoenas pursuant to Federal Rule of Civil Procedure 45 on

Charter Communications (“Charter”) to obtain the identity of Defendants Does

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         Case 4:18-cv-02344 Document 30 Filed in TXSD on 10/11/18 Page 2 of 3




1-107. The Court conditioned discovery on Charter having seven (7) days after

service of a subpoena to notify subscribers that their identity is sought and each

subscriber whose identity is sought having twenty-one (21) days from the date of

Charter’s notice to file any papers contesting the subpoena.

            On October 1, 2018, the Court received a “Notice of Objection to Subpoena

to Produce Documents, Information or Objects, or to Permit Inspection of Premises

in a Civil Action” [Doc. # 13], dated September 24, 2018, from an unidentified

Defendant “Doe” (“Unnumbered Defendant Doe”).

            In an Order dated October 4, 2018 [Doc. # 14], the Court ordered Plaintiff

Siemens to file a response to Unnumbered Defendant Doe’s objection no later than

October 18, 2018. The Court ordered that any reply Unnumbered Defendant Doe

seeks to submit must be filed no later than October 25, 2018, and set a conference

regarding the objection for October 31, 2018, at 1:00 p.m.

            On October 4, 2018, the Court received other objections to subpoenas

[Docs. ## 15, 16, and 17] from Defendants Doe # 19, Doe # 27, and an individual

identified as Pushpa M.

            On October 5, 2018, Defendant Doe # 55 filed Objections to and Motion to

Quash Subpoena, Motion to Sever and/or Dismiss, Motion for Protective Order,

and Motion to Proceed Anonymously [Doc. # 18].



                                               2
P:\ORDERS\11-2018\2344Resch.docx 181011.1024
         Case 4:18-cv-02344 Document 30 Filed in TXSD on 10/11/18 Page 3 of 3




             On October 9, 2018, the Court reset the October 31 conference to October

30, 2018, at 11:30 am. Because other objections may be filed between this date

and the conference, the Court establishes the following schedule to facilitate

resolution of objections. It is hereby

            ORDERED that the Initial Pretrial and Scheduling Conference scheduled

for October 15, 2018, at 1:00 p.m. is RESCHEDULED to October 30, 2018, at

11:30 a.m. It is further

            ORDERED that the Court will hold an oral argument on October 30, 2018,

at 11:30 a.m. regarding all objections filed on or before October 19, 2018, by

Defendants to Siemens’s subpoenas, including but not limited to those objections

filed as Docs. ## 13, 15, 16, 17 and 18. It is further

            ORDERED that Plaintiff Siemens must file on or before October 20, 2018,

a response to objections docketed on or before October 19, 2018. It is further

            ORDERED that replies by objectors to Plaintiff Siemens’s response must

be filed on or before October 26, 2018, by 5:00 p.m.

            SIGNED at Houston, Texas, this 11th day of October, 2018.




                                                            NAN Y F. ATLAS
                                                   SENIOR UNI   STATES DISTRICT JUDGE
                                               3
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